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                             UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                   CHARLESTON DIVISION

IN RE:

ARNOLD GOODSTEIN                                               Case # 10-04204-DD

                                                               Chapter 7
                      Debtor.


                                           REPORT OF SALE

DATE OF SALE:                   June 30, 2014 (Date that proceeds were received and deposited)

TYPE OF SALE:                   Private Sale

PROPERTY SOLD:                  Annuity Policy #K000109202

PURCHASER:                      Novation Capital

PRICE:                          $206,000.00

SALE AGENT, AUCTIONEER, BROKER, ETC:               None

COMMISSION PAID ON SALE: None

EXPENSES OF SALE:               None

DEBTOR’S EXEMPTION:             None

LIENS PAID FROM SALE PROCEEDS/ATTACHING TO PROCEEDS: None

NET TO ESTATE:                  $206,000.00

AMOUNT DISBURSED TO DATE: -0-

AMOUNT RETAINED BY TRUSTEE OF DEBTOR:                 $206,000.00

DATE: July 30, 2014

                                                     /s/ Michelle L. Vieira
                                                   Michelle L. Vieira, Trustee
                                                   District Court ID #9876
                                                   P O Box 70309
                                                   Myrtle Beach, SC 29572
                                                   Phone (843) 497-9800 Fax (877) 684-1614
                                                   email: michellelvieira@msn.com
